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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

KYLE MELLO, ANNA BLAZEJOWSKA,                        )
PATRICIA HALE, and JUSTINE KNAPEREK,                 )
individually and on behalf of persons similarly      )
situated,                                            )
                                                     )
                      Plaintiffs,                    )       Case No.
               v.                                    )
                                                     )
KRIEGER KIDDIE CORPORATION and                       )
ELAINE B. KRIEGER                                    )
                                                     )
                      Defendants.                    )

                    CLASS AND COLLECTIVE ACTION COMPLAINT

       Plaintiffs KYLE MELLO, ANNA BLAZEJOWSKA, PATRICIA HALE, and JUSTINE

KNAPEREK, individually and on behalf of persons similarly situated, state as follows as their

Collective Action Complaint against KRIEGER KIDDIE CORPORATION (“Krieger”) and

ELAINE B. KRIEGER (“Elaine”):

                                      Nature of the Action

       1.      Plaintiffs bring this claim for overtime compensation and other relief under the

Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., the Illinois Minimum Wage Law

(“IMWL”), 820 ILCS § 105/1 et seq, and the Illinois Wage Payment and Collection Act

(“IWPCA”), 820 ILCS § 115/1 et seq., for Defendants’ failure to pay overtime wages to

Plaintiffs and other similarly situated employees for all time worked in excess of forty (40) hours

in individual work weeks and for the return of unlawful “shortage” deductions. Defendants’

unlawful compensation practices have had the effect of denying Plaintiffs and other similarly

situated employees their lawfully earned and living wages. Plaintiffs bring their FLSA claim as


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a collective action pursuant to 29 U.S.C. § 216(b) and their state law claims pursuant to F.R.C.P.

23.

                                              Parties

        2.      Plaintiffs are all citizens of Illinois who are current or former Krieger employees

who were classified as “managers” and paid on what was purported to be a salary basis.

        3.      Defendant Krieger operates a chain of approximately 20 stores under the Once

Upon a Child, Plato’s Closet, New Uses, and Clothes Mentor franchises.

        4.      Elaine is an individual who is the owner and operator of the Krieger stores and is

responsible for instituting the policies that are violated herein.        Elaine has the ultimate

responsibility at Krieger for paying employees and setting payroll practices.

                                     Jurisdiction and Venue

        5.      Venue is proper in this Judicial District as a substantial part of the events arising

out of this case arose in this Judicial District. All of the relevant stores are located in this

Judicial District.

        6.      Subject matter jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337

and by 29 U.S.C. § 216(b).     At all times pertinent to this Complaint, Defendant Krieger was an

enterprise engaged in interstate commerce or in the production of goods for commerce as defined

in 29 U.S.C. 203(r) and 203(s). The annual gross sales volume of Krieger was in excess of

$500,000.00 per year.

                                        Factual Allegations

        7.       Plaintiffs were employed under various titles by Defendant Krieger, called “store

managers”, “assistant managers”, “managers in training”, or some other variation (collectively

“managers”). All were paid by Krieger on what purported to be a salary basis.

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       8.      Krieger has a policy of requiring that its managers work at least 45 hours per

week. Many, in fact, work substantially more. Krieger requires that managers record their time

to assure that they work in excess of 40 hours.

       9.      Although Krieger purports to pay its managers a “salary”, in an effort to avoid

paying overtime hours, Krieger in fact fails to meet the salary basis test for its managers so as to

receive an exemption from paying overtime.

       10.     Historically, and during periods of time within the past 3 years and beyond,

Krieger has had a policy of deducting money from its managers’ paychecks to defray the

ordinary and customary expenses associated with operating a retail store. By way of example, if

a cash register at a store is $1.50 short, Krieger deducts this amount from a manager’s paycheck.

       11.     During the time that Plaintiff Kyle Mello was a manager, he routinely had cash

register shortages deducted from his paycheck.          For example, the following “shortage”

deductions were taken from his purported salary: $2.72 on 8/9/2012, $2.50 on 9/6/2012, $2.74 on

8/22/2013, $0.56 on 9/5/2013.      On information and belief, there were other such shortage

deductions.

       12.     Likewise, during the time that Plaintiff Justine Knaperek was a manager, she also

routinely had cash register shortages deducted from her paycheck. For example, $2.80 was taken

from her purported salary for a “shortage” deduction on 7/26/2012. On information and belief,

there were other such shortage deductions.

       13.     As a matter of Krieger policy, if managers do not work in excess of 45 hours in a

work week, the employee has his or her accrued vacation time deducted.           For example, if a

manager only works 43 hours in one week, Krieger automatically deducts from the manager’s

accrued vacation 2 hours to make up the shortage. Krieger employees are entitled to trade their

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accrued vacation in for cash compensation; and, therefore, such vacation forfeitures result in a

loss of an accrued financial benefit.

       14.     The aforementioned vacation policy results in the fluctuation of the compensation

paid to managers because if an employee does not have any accrued vacation time available, then

Krieger converts the employee from “salary” to hourly for that pay period. For example,

Plaintiff Patricia Hale was purportedly earning a salary of $35,000/year, or $1,346.15 every two

weeks. But during the 1/3/2015 to 1/16/2015 pay period, she only worked 85 hours and 43

minutes. As a result of not working the required 90 hours (45 hours per week over a two-week

time period), she was converted by Krieger to an hourly rate of $14.95 on her 1/22/2015

paycheck. This hourly figure is apparently derived by taking the two-week “salary” of $1,346.15

and dividing it by 90. Multiplying this hourly rate by the hours actually worked, Krieger only

paid Ms. Hale $1,281.47, rather than her “salary” amount of $1,346.15.

       15.     As a result of these shortage deductions and salary-to-hourly conversion policies

and practices, managers are not paid on a salary basis within the meaning of the FLSA.

                                 Class and Collective Allegations

       16.     Plaintiffs seek to prosecute their FLSA claims as a collective on behalf of

“managers” who worked for Krieger as employees within the past three years preceding this

lawsuit to the day of trial and elect to opt-in to this action pursuant to 29 U.S.C. § 216(b) and

who worked in excess of forty (40) hours during one or more weeks but were not paid lawful

wages and overtime compensation for such time. Likewise, Plaintiffs seek to prosecute their

IMWL and IWPCA claims pursuant to F.R.C.P. 23.

       17.     Plaintiffs and other similarly situated current and former employees in the

asserted class regularly worked overtime hours, including but not limited to being subject to a

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practice or policy of Defendants failing to credit all overtime hours worked. Likewise, Plaintiffs

were subjected to a common practice of having unlawful deductions made from their paycheck

for cash register and other shortages.

        18.     Plaintiffs and other similarly situated managers were not exempt from overtime

pay.

        19.     At all times material to this Complaint, Defendants failed to comply with the

FLSA and the IMWL in that Plaintiffs and those similarly situated to Plaintiffs performed

services for Defendants for which no provision was made by Defendants to pay Plaintiffs and

similarly situated persons properly for all overtime hours – that is, all of the hours worked in

excess of forty (40) – within a workweek.

        20.     Plaintiffs and those similarly situated were entitled to an overtime rate of pay

equal to time and one‐half wages for overtime hours worked.

        21.     In the course of employment with Defendant, Plaintiffs and other current and

former employees similarly situated were not paid their overtime rate of pay for all overtime

hours worked.

        22.     There are estimated to be over 40 current and former employees within the

asserted class for this collective action during the material time who are similarly situated to

Plaintiffs. With such numbers of similar claims for unpaid overtime compensation, a collective

action is a superior procedure for adjudicating such claims. Plaintiffs request that the Court

authorize and supervise notice to the members of the asserted classes so that all claims may be

resolved efficiently in a single proceeding.

        23.     The records, if any, should be in the custody or control of Defendants concerning

the members of the asserted collective, the number of hours actually worked by Plaintiffs and all

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other similarly situated employees, and the compensation actually paid, or not paid, to such

employees.

          24.   Plaintiffs will fairly and adequately protect the interests of each Class and have

retained counsel that is experienced and competent in class/collective actions and employment

litigation. Plaintiffs have no interest that is contrary to, or in conflict with, members of their

respective collective.

                         COUNT I - OVERTIME DUE UNDER THE FLSA
                                    (On Behalf of Managers)

          25.   Paragraphs one (1) through twenty-four (24) are re-alleged as if fully set forth

herein.

          26.   At all relevant times, Defendant employed and/or continued to employ Plaintiffs

and each member of the proposed class of managers within the meaning of the FLSA.

          27.   Defendant has a policy and practice of refusing to pay overtime compensation to

its managers for the hours worked in excess of forty (40) hours per week.

          28.   Defendant willfully classified Plaintiffs and other similarly situated members of

the proposed collective of managers as exempt in efforts to circumvent paying earned overtime;

however under the applicable law, an employee is classified as exempt only if they meet the

salary basis test under the FLSA.

          29.   Defendants’ failure to pay Plaintiffs and similarly situated members of the

proposed class of managers overtime compensation at a rate not less than one and one-half times

the rate at which they are employed for work performed beyond the forty (40) hour workweek is

a violation of the FLSA, in particular, 29 U.S.C. §§ 206 and 207.




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        30.     The foregoing conduct, as alleged, constitutes a willful violation of the FLSA

within the meaning of 29 U.S.C. § 255(a).

        31.     Due to Defendants’ FLSA violations, Plaintiffs allege on behalf of the members

of the proposed class of managers that they have suffered damages and are entitled to recover

from Defendant the unpaid overtime compensation, and an additional amount equal as liquidated

damages, prejudgment interest, reasonable attorneys' fees, and costs and disbursements of this

action, pursuant to 29 U.S.C. §216(b).

         COUNT II - VIOLATION OF THE ILLINOIS MINIMUM WAGE LAW
  (Plaintiffs Individually And On Behalf Of All Similarly Situated Employees Pursuant to
                                   Fed. R. Civ. Pro. 23)

        32.     Plaintiffs hereby reallege and incorporate paragraphs 1 through 31 of this

Complaint, as if fully set forth herein.

        33.     This count arises from Defendants’ violation of the overtime compensation

provisions of the IMWL, 820 ILCS § 105/1 et seq.

        34.     Under the IMWL, Defendants were and remain obligated to compensate Plaintiffs and

similarly situated employees for all hours worked in excess of forty (40) hours in any individual work

week. Overtime compensation must be paid at a rate of not less than one and one-half times the

regular rate of pay.

        35.     During the 3 years prior to the filing of this Complaint, Plaintiffs and similarly situated

employees were regularly permitted, encouraged and/or required to work in excess of forty (40) hours

per week but were not compensated for such overtime work.

        36.     By failing to pay overtime compensation due to Plaintiffs and similarly situated

employees, Defendants willfully, knowingly and/or recklessly violated the IMWL which requires

overtime compensation to be paid to non-exempt employees

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       37.     As a result of Defendants’ policy and practice of withholding all overtime compensation

due, Plaintiffs and similarly situated employees have been damaged in that they have not received wages

due to them pursuant to the IMWL.

       WHEREFORE, Plaintiffs pray for a judgment against Defendants as follows:

       A.      Certification of a class of Plaintiffs defined as current and former Krieger

managers. The relevant time period is for work performed within the past three (3) years

preceding this lawsuit to the day of trial;

       B.      A declaratory judgment that Defendant has violated the overtime provisions of the

IMWL as to the Plaintiffs and the Class;

       C.      A declaratory judgment that Defendants’ violations of the IMWL were willful;

       D.      A judgment to Plaintiffs and the Class in the amount of unpaid overtime;

       E.      A judgment to Plaintiffs and the Class of punitive damages as provided by IMWL;

       F.      A judgment to Plaintiffs and the Class of reasonable attorney’s fees;

       G.      Costs incurred in filing this action; and

       H.      Such other and further relief as this Court deems appropriate and just.

                    COUNT III - FAILURE TO PAY WAGES EARNED
                         (Illinois Wage Payment and Collection Act)
  (Plaintiffs Individually And On Behalf Of All Similarly Situated Employees Pursuant to
                                     Fed. R. Civ. Pro. 23

       38.       Plaintiffs repeat and re-allege each of the foregoing paragraphs.

       39.     Illinois law provides that "every employer shall be required, at least

semi-monthly, to pay every employee all wages earned during the semi-monthly pay period."

Illinois Wage Payment & Collection Act, 820 ILCS §115/3 et seq.

       40. 820 ILCS §115/9 provides as follows:


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                        Except as hereinafter provided, deductions by employers from
                        wages or final compensation are prohibited unless such
                        deductions are (1) required by law; (2) to the benefit of the
                        employee; (3) in response to a valid wage assignment or wage
                        deduction order; (4) made with the express written consent of the
                        employee, given freely at the time the deduction is made; (5)
                        [made by certain governmental entities]. (emphasis added)

       41.       By making the deductions referenced herein for cash register and other shortages,

Defendants failed to pay Plaintiffs and members of the Class wages earned.

       42.       The foregoing actions of Defendants constitute violations of Illinois Wage

Payment and Collection Act, 820 ILCS § 115/3 et seq. Defendants' actions were willful and not

in good faith.

       43.       Defendants are liable to Plaintiffs and the Class for actual damages, equitable

relief, recovery of attorneys' fees and costs, and prejudgment interest as provided by law,

pursuant to the Illinois Wage Payment and Collection Act, 820 ILCS § 115 et seq. and the

Illinois Code of Civil Procedure 735 ILCS §5/2-801 and §5/2-802.

       44.       Elaine is personally liable pursuant to § 13 of Illinois Wage Payment and

Collection Act which provides that "any officers of a corporation or agents of an employer who

knowingly permit such employer to violate the provisions of this Act shall be deemed to be the

employers of the employees of the corporation.” 820 ILCS 115/13.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually, and on behalf of all similarly situated managers

whom Plaintiffs seek to represent in this action, request the following relief:

       a.        Certification of a class of Plaintiffs defined as current and former Krieger

managers. The relevant time period is for work performed within the past ten (10) years

preceding this lawsuit to the day of trial;

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       b.      An award of all damages allowed under the law, including statutory interest and

attorney fees and costs.

                               DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all questions of fact raised by this Complaint,

including the FLSA overtime claim.


Dated: June 25, 2015


                                                   Respectfully submitted,


                                                   By:/s/ David J. Fish
                                                           One of Plaintiffs’ Attorneys


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